   Case: 1:15-cv-10109 Document #: 207 Filed: 05/08/18 Page 1 of 4 PageID #:1567



                      IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

NIRAV THAKKAR, an individual,                 )
                                              )
                             Plaintiff,       )            Case No. 1:15-cv-10109
                                              )
                        v.                    )            Judge John J. Tharp, Jr.
                                              )
OCWEN LOAN SERVICING, LLC, a Delaware )
limited liability company, ALTISOURCE         )
SOLUTIONS, INC., a Delaware corporation,      )
ALTISOURCE PORTFOLIO SOLUTIONS, S.A., )
a Luxembourg corporation, BAXOL               )
PROPERTIES, LLC, an Indiana limited liability )
company and LAUDAN PROPERTIES, LLC, an )
Ohio limited liability company,               )
                                              )
                             Defendants.      )



                            PLAINTIFF NIRAV THAKKAR’S
                    PROPOSED DISCOVERY PLAN AND STATUS REPORT

       The parties consulted regarding a joint status report on discovery in the case and could

not agree on a joint proposal. Therefore, the parties are filing separate status reports and

recommendations regarding remaining work to be done in the case. Plaintiff Nirav Thakkar’s

position is set out as follows:

         As an initial matter, Thakkar points the Court to the proposed discovery plan crafted by

 Defendants (attached hereto as Exhibit A) that was filed more than a year ago on April 3, 2017.

 [DKT #167.] Defendants proposed to complete discovery by November 17, 2017, with

 dispositive motions filed by January 19, 2018. Those deadlines were proposed by Defendants

 over Plaintiff’s objections. [DKT #167 pp. 1-2.] At that time, the reason for the extended

 deadlines proposed by Defendants was to “have a period of time for the newly added parties to

 obtain and review prior discovery and responses, and then to issue their own discovery requests
   Case: 1:15-cv-10109 Document #: 207 Filed: 05/08/18 Page 2 of 4 PageID #:1568



 to the extent necessary.” [Id. at p. 3.] While this schedule was never entered by Judge Valdez,

 there was nothing that prevented any party from complying with the proposed schedule, one

 that all Defendants had requested and agreed upon over Thakkar’s objections.

       The Defendants’ current proposal now seeks to extend discovery close until September

15, 2018, with a dispositive motion deadline of October 15, 2018. However, Defendants’ new

proposal does not explain how “the parties have diligently engaged in discovery” (page 2) over

the past year. To the contrary, the only discovery that has occurred since Defendants’ filing more

than a year ago was a deposition noticed up by Plaintiff. Moreover, none of the Defendants can

any longer be properly characterized as “newly” added parties (page 2), as the Amended

Complaint was filed 18 months ago, in December 2016.

       Although not stated in their current written proposal, Defendants represented to counsel

by e-mail that the purpose of this newly proposed schedule is to provide the Defendants with an

expert discovery period. To be clear, Thakkar has not retained any experts in this case and does

not intend to do so. When Thakkar sought to learn the subject matter of any expert testimony or

reason for any expert testimony, the response was that the Defendants were “contemplating”

standard of care and damages experts. Thakkar was not able to ascertain whether any of these

experts were directed at Thakkar or whether they were related to claims by and among the

Defendants in the form of cross-claims and counterclaims. Thakkar has not asserted any claims

requiring a standard of care expert. For items stolen from the subject property, including

memorabilia or other tangible goods, Thakkar has generally provided a receipt to show his

purchase price for those items. For other unliquidated damages categories, Thakkar is not

required to provide expert testimony to establish damages.




                                                2
   Case: 1:15-cv-10109 Document #: 207 Filed: 05/08/18 Page 3 of 4 PageID #:1569



        Generally, Thakkar believes that Defendants are collectively seeking to further delay a

trial setting in the case. This includes their request for any dispositive motion cutoff. With fact

discovery now effectively completed, Thakkar is not aware of any legal basis or factual basis for

a dispositive motion as to his claims.

        Thakkar’s proposal is simple: Discovery should close June 8, 2018 and no defense

experts should be allowed in the absence of good cause being shown. Thakkar’s claims against

Defendants should be set for trial as quickly thereafter as possible. Defendants’ crossclaims and

counterclaims (among themselves – none have been raised against Thakkar) should be severed

from the trial of Thakkar’s claim. The Defendants’ claims against each other can be tried

separately after the jury’s decision in Thakkar’s case. Even if the entire controversy is tried

together, Thakkar would request a trial in September 2018, with pretrial to be set based upon the

trial date.

        Thakkar’s lead trial counsel, undersigned, notes that he has a medical procedure set for

July 18, 2018 that will prevent him from traveling (or working) for seven days, so he requests the

Court’s indulgence in avoiding any court settings between July 17, 2018 and July 26, 2018 in the

matter. Other than those dates, Plaintiff’s counsel team will be available and ready to proceed to

trial with all due haste in this matter.

Dated: May 7, 2018.

Attorney for Plaintiff NIRAV THAKKAR:

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                                                3
   Case: 1:15-cv-10109 Document #: 207 Filed: 05/08/18 Page 4 of 4 PageID #:1570



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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on May 7, 2018, a true and correct copy of the foregoing
Plaintiff’s Proposed Discovery Plan & Status Report was served upon counsel of record for
the Defendants via electronic filing:


                                                    /s/ Nick Wooten
                                                    Nick Wooten




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